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  AO 245B (Rev. 06/05) Judgment in a Criminal Case
            Sheet 1



                                        UNITED STATES DISTRICT COURT
                         k!1tPJPJPil                               District of                                ALABAMA
          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                     V.
              JONATHAN HARRIS
                                                                           Case Number:                     2:08cr30-002-WKW
                                                                                                            (WO)
                                                                           USM Number:                       12412-002

                                                                           John Michael Poti
                                                                           Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)       1 and 2 of the Indictment on April 28, 2008
Dpleaded nob contendere to count(s) __________________________________________________________________________________
  which was accepted by the court.
0 was found guilty on count(s) ________________________________________________________________________________
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended                Count
18:371                           Conspiracy to Defraud the United States                                    3/1/2006                       1
18:922(u); and 2                 Theft of Firearms from a Federally Licensed Dealer;                        3/1/2006                       2
                                 Aiding and Abetting



       The defendant is sentenced as provided in pages 2 through                          of this judgment. The sentence is imposed pursuant to
the Sentencing Refonu Act of 1984.
0 The defendant has been found not guilty on count(s)
X Count(s) 3                                            X is       0 are dismissed on the motion of the United States.

         It is ordered that the defendant must notif' the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notifr the court and United States attorney of material changes in economic circumstances.

                                                                           August 13. 2008
                                                                           Date of Imnocition of 1.idumnt




                                                                          W. KEITH WATKINS, UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge



                                                                          Date
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AO 245B      (Rev. 06/05) Judgment in a Criminal Case
             Sheet 4—Probation
                                                                                                            Judgment—Page      2     of        5
DEFENI)ANT:    JONATHAN HARRIS
CASE NUMBER: 2:08cr30-002-WKW
                                                                 PROBATION
The defendant is hereby sentenced to probation for a term of:
5 Years




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
0 The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
0 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
     student, as directed by the probation officer. (Check, if applicable.)
o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notif' the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
       contraband observed in plain view of the probation officer;
 11)   the defendant shall notif' the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
 13)   as directed by the probation officer, the defendant shall notif' third parties of risks that may be occasioned by the defendant's criminal
       record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
       defendant s compliance with such notification requirement.
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A0 245B   (Rev. 06/0 5) Judgment in a Criminal Case
          Sheet 4C - Probation
                                                                                      Judgment—Page   3    of      5
DEFENDANT:     JONATHAN HARRIS
CASE NUMBER: 2:08cr30-002-WKW

                                        SPECIAL CONDITIONS OF SUPERVISION


Defendant shall participate in a program of drug testing administered by the United States Probation Office.
Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this
court.
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AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 5—Criminal Monetaly Penalties
                                                                                                    Judgment - Page       4     of        5
DEFENDANT:                         JONATHAN HARRIS
CASE NUMBER:                       2:08cr30-002-WKW
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                     Fine                                   Restitution
TOTALS             $ 200                                           $ 1000                               $


[] The determination of restitution is deferred until              An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such detennination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                  Total Loss*                    Restitution Ordered                     Priority or Percenta2e




TOTALS                               $                         0          $                            0


0 Restitution amount ordered pursuant to plea agreement $
0 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in fill before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     X the interest requirement is waived for the X fine 0 restitution.

      0 the interest requirement for the 0 fme 0 restitution is modified as follows:
* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 245B
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           (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6— Schedule of Payments

                                                                                                    Judgment - Page    5   of   5
DEFENI)ANT:    JONATHAN HARRIS
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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
A x Lump sum payment of $ 1200                            due immediately, balance due

           onot later than __________________________ , or
           x in accordance        0 C, 0 D, 0 E, or x F below; or
B 0 Payment to begin immediately (may be combined with 0 C,                      0 D, or [2F below); or
C 0 Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
       ____________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or
D El Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
       ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
        term of supervision; or
E [2 Payment during the term of supervised release will commence __________ (e.g., 30 or 60 days) after release from
     imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that
F X Special instructions regarding the payment of criminal monetary penalties:
          Criminal monetary payments shall be made payable to the Clerk, U.S. District Court, Middle District of Alabama,
          P.O. Box 711, Montgomery, AL 36101.
          Payment of the fine is to begin in September, 2008 with payments of $100 per month.


Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment of criminal monetary penalties
is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



0 Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
     and corresponding payee, if appropriate.




0 The defendant shall pay the cost of prosecution.
o The defendant shall pay the following court cost(s):

0 The defendant shall forfeit the defendant's interest in the following property to the United States:
